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               16                           UNITED STATES DISTRICT COURT
               17                         CENTRAL DISTRICT OF CALIFORNIA
               18
               19      ABDIRAHMAN ADEN KARIYE,                     Case No. 2:22-cv-01916-FWS-GJS
                       MOHAMAD MOUSLLI, and
               20      HAMEEM SHAH,                                PLAINTIFFS’ NOTICE OF MOTION
                                                                   AND MOTION TO COMPEL RE LAW
               21                      Plaintiffs,                 ENFORCEMENT PRIVILEGE
               22            v.                                    Date: June 16, 2025
                                                                   Time: 3:00 PM
               23      KRISTI NOEM, Secretary of the U.S.          Dept: Courtroom 640
                       Department of Homeland Security, in         Judge: Hon. Gail J. Standish
               24      her official capacity, et al.,              Trial Date: January 27, 2026
                                                                   Date Action Filed: March 24, 2022
               25                      Defendants.
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COOLEY LLP
ATTORNEYS AT LAW
   PALO ALTO
                                                                                 PLS.’ NTC OF MOTION TO COMPEL
                                                                                         2:22-CV-01916-FWS-GJS
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                   1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                   2         PLEASE TAKE NOTICE that on June 16, 2025, at 3:00p.m., or as soon
                   3   thereafter as this motion may be heard in the above-titled Court, Plaintiffs Imam
                   4   Abdirahman Aden Kariye, Mohamad Mouslli, and Hameem Shah (“Plaintiffs”) will
                   5   and hereby do move this Court, pursuant to Fed. R. Civ. P. 37(a), for an order
                   6   compelling Defendants Kristi Noem, Secretary of the U.S. Department of Homeland
                   7   Security (“DHS”), Pete R. Flores, Acting Commissioner of U.S. Customs and Border
                   8   Protection (“CBP”), Caleb Vitello, Acting Director of U.S. Immigration and Customs
                   9   Enforcement (“ICE”), and Robert Hammer, Acting Executive Associate Director,
               10      Homeland Security Investigations (“HSI”) (“Defendants”) to produce unredacted
               11      versions of documents previously produced by Defendants that contain redactions
               12      based on the purported law enforcement privilege.
               13            This Notice of Motion and Motion is based on the accompanying
               14      Memorandum of Points and Authorities, the concurrently filed declaration of
               15      Alexander K. Brehnan and the exhibits attached thereto, all pleadings and papers on
               16      file in this matter, and upon such matters as may be presented to the Court at the time
               17      of hearing on this motion or otherwise.
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COOLEY LLP
                                                                                   PLS.’ NTC OF MOTION TO COMPEL
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ATTORNEYS AT LAW
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                   1   Dated: May 15, 2025                      COOLEY LLP
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